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                                                               ACCO,(AJRx),CLOSED,DISCOVERY,TRANSFERRED
                      UNITED STATES DISTRICT COURT
        CENTRAL DISTRICT OF CALIFORNIA (Western Division − Los Angeles)
             CIVIL DOCKET FOR CASE #: 2:25−mc−00053−MWC−AJR

Liner Freedman Taitelman Cooley, LLP v. Blake Lively                    Date Filed: 06/13/2025
Assigned to: Judge Michelle Williams Court                              Date Terminated: 07/07/2025
Referred to: Magistrate Judge A. Joel Richlin                           Jury Demand: None
Case in other court: Southern District of New York,                     Nature of Suit: 890 Other Statutory Actions
                     1:24−cv−10049−LJL                                  Jurisdiction: Diversity
Cause: Civil Miscellaneous Case
Movant
Liner Freedman Taitelman Cooley, LLP                     represented by Ellyn S. Garofalo
a limited liability partnership                                         Liner Freedman Taitelman Cooley, LLP
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V.
Respondent
Blake Lively                                             represented by Esra Acikalin Hudson
an individual                                                           Manatt Phelps and Phillips LLP
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                                                                        310−312−4381
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                       Case 1:25-mc-00289-LJL           Document 21         Filed 07/07/25       Page 2 of 4
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Email All AttorneysEmail All Attorneys and Additional Recipients

 Date Filed        #    Docket Text

 06/13/2025       Ï1    MOTION RELATED TO A SUBPOENA FROM ANOTHER DISTRICT Receipt No:
                        ACACDC−39905720 − Fee: $52, filed by Movant Liner Freedman Taitelman Cooley, LLP.
                        (Attachments: # 1 Joint Stipulation, # 2 Declaration of Amir Kaltgrad, # 3 Exhibit A, # 4 Exhibit B,
                        # 5 Declaration of Kristin E. Bender, # 6 Exhibit C, # 7 Exhibit D, # 8 Exhibit E, # 9 Affidavit
                        Certificate of Service) (Attorney Ellyn S. Garofalo added to party Liner Freedman Taitelman
                        Cooley, LLP(pty:mov))(Garofalo, Ellyn) (Entered: 06/13/2025)

 06/17/2025       Ï2    Notice of Appearance or Withdrawal of Counsel: for attorney Esra Acikalin Hudson counsel for
                        Respondent Blake Lively. Adding Esra A. Hudson as counsel of record for Blake Lively for the
                        reason indicated in the G−123 Notice. Filed by Defendant Blake Lively. (Attorney Esra Acikalin
                        Hudson added to party Blake Lively(pty:res))(Hudson, Esra) (Entered: 06/17/2025)

 06/25/2025       Ï3    NOTICE OF ASSIGNMENT to District Judge Michelle Williams Court and Magistrate Judge A.
                        Joel Richlin. (ghap) (Entered: 06/25/2025)

 06/25/2025       Ï4    NOTICE OF DEFICIENCIES in Attorney Case Opening RE: MISC − Motion Related to Subpoena
                        from Another District, 1 . The following error(s) was found: The Proposed Order is Missing (ghap)
                        (Entered: 06/25/2025)

 06/25/2025       Ï5    NOTICE OF HEARING on MOTION RELATED TO A SUBPOENA FROM ANOTHER
                        DISTRICT by Clerk of Court. Counsel is hereby notified that the MISC − Motion Related to
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                     Subpoena from Another District, 1 is set for hearing. Motion set for hearing on 7/11/2025 at 01:30
                     PM before Judge Michelle Williams Court. THERE IS NO PDF DOCUMENT ASSOCIATED
                     WITH THIS ENTRY. (ghap) TEXT ONLY ENTRY (Entered: 06/25/2025)

06/26/2025    Ï6     (IN CHAMBERS) ORDER REFERRING MOTION TO QUASH SUBPOENA (DKT. 1 ) TO
                     MAGISTRATE JUDGE A. JOEL RICHLIN by Judge Michelle Williams Court: The Court has
                     reviewed the matter and refers the matter to Magistrate Judge A. Joel Richlin for his determination.
                     THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (tj) TEXT ONLY
                     ENTRY (Entered: 06/26/2025)

06/27/2025    Ï7     SUPPLEMENT to MISC − Motion Related to Subpoena from Another District, 1 filed by
                     Respondent Blake Lively. (Attachments: # 1 Proposed Order)(Hudson, Esra) (Entered: 06/27/2025)

06/27/2025    Ï8     Notice of Pendency of Other Actions or Proceedings filed by Respondent Blake Lively.
                     (Attachments: # 1 Exhibit A)(Hudson, Esra) (Entered: 06/27/2025)

06/27/2025    Ï9     NOTICE of Interested Parties filed by Respondent Blake Lively, (Hudson, Esra) (Entered:
                     06/27/2025)

06/27/2025   Ï 10    NOTICE of Related Case(s) filed by Respondent Blake Lively. Related Case(s): 2:25−mc−00055−
                     WLH−SK (the Related Case), pending in the Central District of California (Hudson, Esra)
                     (Entered: 06/27/2025)

06/27/2025   Ï 11    Notice of Appearance or Withdrawal of Counsel: for attorney Stephanie Anne Roeser counsel for
                     Respondent Blake Lively. Adding Stephanie A. Roeser as counsel of record for Blake Lively for
                     the reason indicated in the G−123 Notice. Filed by Respondent Blake Lively. (Attorney Stephanie
                     Anne Roeser added to party Blake Lively(pty:res))(Roeser, Stephanie) (Entered: 06/27/2025)

06/27/2025   Ï 12    Notice of Appearance or Withdrawal of Counsel: for attorney Sarah Emily Moses counsel for
                     Respondent Blake Lively. Adding Sarah E. Moses as counsel of record for Blake Lively for the
                     reason indicated in the G−123 Notice. Filed by Respondent Blake Lively. (Attorney Sarah Emily
                     Moses added to party Blake Lively(pty:res))(Moses, Sarah) (Entered: 06/27/2025)

06/27/2025   Ï 13    (In Chambers): ORDER SCHEDULING INFORMAL DISCOVERY CONFERENCE BY VIDEO
                     by Magistrate Judge A. Joel Richlin. 7 In an effort to address this dispute in the most efficient
                     manner possible, the Court schedules an informal discovery conference by video for Thursday July
                     3, 2025 at 11:00 a.m. The Courtroom Deputy Clerk will email a link to the parties to join the
                     videoconference. The purpose of the informal discovery conference is to discuss the dispute, the
                     parties' respective positions, and possible next steps to resolve the dispute. [See document for
                     further details.] (san) (Entered: 06/27/2025)

06/27/2025   Ï 14    NOTICE OF LODGING filed re Deficiency in Attorney Case Opening − optional html form 4
                     (Attachments: # 1 Proposed Order)(Garofalo, Ellyn) (Entered: 06/27/2025)

06/27/2025   Ï 15    SUPPLEMENT to MISC − Motion Related to Subpoena from Another District, 1 filed by Movant
                     Liner Freedman Taitelman Cooley, LLP. (Garofalo, Ellyn) (Entered: 06/27/2025)

06/30/2025   Ï 16    MOTION RE: INFORMAL DISCOVERY DISPUTE − Video Conference is set for 7/3/2025 at
                     11:00 AM before Magistrate Judge A. Joel Richlin. [See document for details.] (san) (Entered:
                     07/01/2025)

07/01/2025   Ï 17    APPLICATION of Non−Resident Attorney Kristin Bender to Appear Pro Hac Vice on behalf of
                     Respondent Blake Lively (Pro Hac Vice Fee − $500 Fee Paid, Receipt No. ACACDC−40014967)
                     filed by Respondent Blake Lively. (Attachments: # 1 Proposed Order) (Moses, Sarah) (Entered:
                     07/01/2025)

07/03/2025   Ï 18    MINUTES OF INFORMAL DISCOVERY VIDEOCONFERENCE held before Magistrate Judge
                     A. Joel Richlin. On July 3, 2025, the Court held an informal discovery conference to discuss the
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                     pending motion to quash subpoena. After discussing the motion with the parties, the Court advised
                     that a ruling would be forthcoming. Court Recorder: CS 7/03/2025. (san) (Entered: 07/03/2025)

07/03/2025   Ï 19    ORDER by Judge Michelle Williams Court: granting 17 Non−Resident Attorney Kristin Bender
                     APPLICATION to Appear Pro Hac Vice on behalf of Respondent Blake Lively, designating Sarah
                     Moses as local counsel. THERE IS NO PDF ASSOCIATED WITH THIS ENTRY(aus) (Entered:
                     07/03/2025)

07/07/2025   Ï 20    MEMORANDUM DECISION AND ORDER TRANSFERRING MOTION TO QUASH TO THE
                     SOUTHERN DISTRICT OF NEW YORK (DKTS. 1, 7, 15) by Magistrate Judge A. Joel Richlin
                     transferring case to Southern District of New York. ("The order here merely transferred the action
                     to another federal court and did not affect the viability of a claim or defense or the federal appellate
                     courts' ability to correct errors. Thus,the transfer order was nondispositive, and the magistrate judge
                     had jurisdiction to enter it."). Because the action before this Court is a miscellaneous case initiated
                     by the Motion to Quash, the Court directs the Clerk of Court to administratively close the action in
                     the Central District of California. Case transferred electronically. (MD JS−6. Case Terminated.) (et)
                     (Entered: 07/07/2025)
